Case 8:20-cv-01743-KKM-TGW            Document 1       Filed 07/28/20      Page 1 of 33 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 It Works Marketing, Inc.,

                Plaintiff,

 v.                                                  CASE NO.

 Melaleuca Inc., Kimberly Bertolucci a/k/a
 Kimberly McCauley, Katie Herold,
 Amber Hoerner, Kellie Kaufman,
 Jeanie McWhorter, Ashley Olive,
 Brandon Olive, Lea Piccoli,
 Sarah Rankin, Joshua Rankin,
 Makenzie Schultz, Steven Schultz,
 Geneveve Sykes, and Sean Sykes,

             Defendants.
 _________________________________/

                 COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

         Plaintiff, It Works Marketing, Inc. (“It Works!”), sues Defendants, Melaleuca Inc.

 (“Melaleuca”), and Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Harold, Amber

 Hoerner, Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli, Sarah

 Rankin, Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes, and Sean Sykes

 (the “Distributor Defendants”), and alleges:

                                        INTRODUCTION

         1.     It Works! is a direct sales company that markets its goods and services, primarily

 high-quality health and beauty products, through independent distributors. It Works! brings this

 action against certain former It Works! distributors—the Distributor Defendants—and their

 current direct sales company—Defendant Melaleuca, a competitor of It Works!. Together, the

 Distributor Defendants and Melaleuca have orchestrated and are perpetrating an unlawful




 14520441v1
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20      Page 2 of 33 PageID 2




 scheme to illegally recruit current It Works! distributors, procure the distributors’ resignations

 from It Works!, and have them join Melaleuca to sell its competing products, all in an illicit

 attempt to sabotage and destroy It Works!. Specifically, the Distributor Defendants—all of

 whom had access to and received It Works! confidential, proprietary, and trade secret

 information during their tenure with It Works!—and Melaleuca have violated and are now

 violating (i) the non-compete, non-solicitation, and non-disclosure obligations in the Distributor

 Defendants’ agreements with It Works!, (ii) Melaleuca’s own policies and procedures, and (iii)

 federal and state law. As a result, It Works! seeks injunctive relief to prohibit the Defendants’

 wrongful conduct and damages arising from that conduct.

                            PARTIES, JURISDICTION, AND VENUE

         2.     Plaintiff, It Works Marketing, Inc., is a Florida corporation with its principal place

 of business and headquarters in Palmetto, Manatee County, Florida. It Works! was founded in

 2001, and through its passionate sales force and relentless focus on innovation and quality, has

 grown to become a global provider of high-quality health and beauty products.

         3.     Defendant, Melaleuca Inc., is upon information and belief an Idaho corporation

 with its principal place of business and headquarters in Idaho Falls, Idaho, and is a competitor of

 It Works!.

         4.     Defendant, Kimberly Bertolucci a/k/a Kimberly McCauley, is upon information

 and belief a citizen and resident of California. Ms. McCauley was an It Works! distributor from

 July 27, 2018 through September 25, 2019.

         5.     Defendant, Katie Herold, is upon information and belief a citizen and resident of

 Ohio. Ms. Herold became an It Works! distributor on May 21, 2013 and resigned on July 22,

 2020.



 14520441v1                                        2
Case 8:20-cv-01743-KKM-TGW            Document 1       Filed 07/28/20     Page 3 of 33 PageID 3




         6.    Defendant, Amber Hoerner, is upon information and belief a citizen and resident

 of California. Ms. Hoerner joined It Works! as a distributor on June 1, 2014 and resigned on

 October 1, 2018.

         7.    Defendant, Kellie Kaufman, is upon information and belief a citizen and resident

 of Washington. Ms. Kaufman became an It Works! distributor on January 27, 2012 and resigned

 on April 15, 2020.

         8.    Defendant, Jeanie McWhorter, is upon information and belief a citizen and

 resident of Georgia. Ms. McWhorter joined It Works! as a distributor on January 11, 2015 and

 resigned on or about August 29, 2018.

         9.    Defendant, Ashley Olive, is upon information and belief a citizen and resident of

 Texas. Ms. Olive was an It Works! distributor from June 29, 2014 through August 18, 2018.

         10.   Defendant, Brandon Olive, is upon information and belief a citizen and resident of

 Texas. Mr. Olive was an It Works! distributor from July 31, 2014 through August 18, 2018.

         11.   Defendant, Lea Piccoli, is upon information and belief a citizen and resident of

 New Jersey. Ms. Piccoli was an It Works distributor from September 7, 2014 through July 23,

 2020.

         12.   Defendant, Sarah Rankin, is upon information and belief a citizen and resident of

 Florida. Ms. Rankin joined It Works! as a distributor on July 8, 2010 and resigned on July 21,

 2020.

         13.   Defendant, Joshua Rankin, is upon information and belief a citizen and resident of

 Florida. Mr. Rankin joined It Works! as a distributor on July 18, 2010 and resigned on July 21,

 2020.




 14520441v1                                     3
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20      Page 4 of 33 PageID 4




         14.    Defendant, Makenzie Schultz, is upon information and belief a citizen and

 resident of Iowa. Ms. Schultz was an It Works! distributor from April 2, 2013 through August

 18, 2018.

         15.    Defendant, Steven Schultz, is upon information and belief a citizen and resident

 of Iowa. Mr. Schultz was an It Works! distributor from May 5, 2013 through August 18, 2018.

         16.    Defendant, Geneveve Sykes, is upon information and belief a citizen and resident

 of Florida. Ms. Sykes became an It Works! distributor on October 14, 2014 and resigned on

 November 27, 2018.

         17.    Defendant, Sean Sykes, is upon information and belief a citizen and resident of

 Florida. Mr. Sykes became an It Works! distributor on May 3, 2016 and resigned on November

 27, 2018.

         18.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

 this action arises under the laws of the United States, including The Lanham Act, 15 U.S.C. §

 1051 et seq., and The Defend Trade Secrets Act 18 U.S.C. § 1836 et seq., and has supplemental

 jurisdiction pursuant to 28 U.S.C. § 1367 over all other claims in this action because they are so

 related to the claims over which the Court has original jurisdiction that they form part of the

 same case or controversy.

         19.    The Court has personal jurisdiction over the Distributor Defendants because, in

 Section 14 of the It Works! Distributor Agreement Terms & Conditions (described below), they

 have submitted themselves to the jurisdiction of this Court, and has personal jurisdiction over all

 of the Defendants pursuant to Section 48.193, Florida Statutes.

         20.    The Defendants, among other things:




 14520441v1                                       4
Case 8:20-cv-01743-KKM-TGW               Document 1        Filed 07/28/20    Page 5 of 33 PageID 5




         (a)     operate, conduct, engage in, or carry on a business or business venture in this

 state, including having an office or agency in Florida;

         (b)     committed and continue to commit tortious acts within Florida;

         (c)     caused and continue to cause injury to persons or property within this state arising

 out of an act or omission by the Defendants outside this state, while

                 (i)      the Defendants were engaged in solicitation or service activities within

         Florida; or

                 (ii)     products, materials, or things processed, serviced, or manufactured by the

         Defendants were used or consumed within Florida in the ordinary course of commerce,

         trade, or use;

         (d)     breached and continue to breach a contract in Florida by failing to perform acts

 required by the contract to be performed in this state; and

         (e)     have engaged in substantial and not isolated activity within Florida, whether

     wholly interstate, intrastate, or otherwise.

         21.     The Distributor Defendants electronically signed every agreement between It

 Works! and the Distributor Defendants that are a subject of this Complaint. The Distributor

 Defendants who are not citizens and residents of Florida made visits to It Works! headquarters in

 Florida and / or to It Works! meetings and events in Florida in connection with their business

 activities with It Works!. The Distributor Defendants also regularly and routinely made

 telephone calls and transmitted electronic messages and other communications to It Works! in

 Florida.

         22.     The Distributor Defendants received substantial economic benefits from their

 business activities with It Works! in Florida, and Melaleuca has received substantial economic



 14520441v1                                         5
Case 8:20-cv-01743-KKM-TGW              Document 1        Filed 07/28/20       Page 6 of 33 PageID 6




 benefits from its business activities with certain Distributor Defendants in Florida and otherwise

 from its business activities in Florida.

         23.    Melaleuca and the Distributor Defendants have caused and continue to cause It

 Works! substantial harm and economic damages in Florida as discussed in this Complaint.

         24.    Venue is proper in this district as to the Distributor Defendants because, in

 Section 14 of the It Works! Distributor Agreement Terms & Conditions (described below), they

 agreed to venue in this district, and venue is proper in this district as to all of the Defendants

 pursuant to 28 U.S.C. § 1391.

         25.    All conditions precedent to this action have occurred, have been satisfied, or are

 waived.

         26.    It Works! has retained the law firm Shumaker, Loop & Kendrick, LLP and is

 obligated to pay reasonable attorneys’ fees and costs for its services in this matter.

                                            BACKGROUND

                               The It Works! Distributor Agreement

         27.    As a requirement to become an It Works! distributor, each of the Distributor

 Defendants entered into a contract with It Works! that includes the It Works! Distributor

 Agreement (Terms and Conditions), the It Works! Policies and Procedures, and the It Works!

 Compensation Plan (collectively the “Agreement”) which defines and governs the relationship

 between It Works! and its distributors. A copy of the Agreement is attached as Exhibit 1.

         28.    It Works distributors are required to electronically review, acknowledge, and

 consent to the Agreement as part of becoming a distributor. Additionally, each time there is a

 substantive update to the Agreement, It Works distributors undergo a “force read” where the

 distributors are again required to review, acknowledge, and consent to the terms of the



 14520441v1                                         6
Case 8:20-cv-01743-KKM-TGW              Document 1        Filed 07/28/20      Page 7 of 33 PageID 7




 Agreement. Each of the Distributor Defendants in this case did, in fact, electronically

 acknowledge and consent to the Agreement.

         29.    The term of the Agreement is one year, and each of the Distributor Defendants

 renewed their Agreement with It Works! annually during their tenures as It Works! distributors.

 See Exhibit 1, Policies and Procedures § 2.4.

         30.    By entering into and annually renewing their Agreements with It Works!, the

 Distributor Defendants agreed to comply with all of the terms and conditions set forth in the

 Agreement (including all amendments or modifications that It Works! elected to make from time

 to time in its sole and absolute discretion) as well as all federal, state, and local laws governing

 their business and their conduct. See Exhibit 1, Policies and Procedures §§ 1.2 & 1.3.

         31.    The Agreement gave the Distributor Defendants valuable rights in connection

 with their It Works! distributorships including, without limitation: to be compensated pursuant to

 the terms of the It Works! Compensation Plan, to promote the sale of It Works! product lines, to

 recruit distributors and customers throughout the United States and nineteen international

 markets, and to attend world class leadership training and corporate events.

         32.    The Agreement sets the standard for acceptable business conduct of It Works!

 distributors, and expressly states that the success of It Works! distributors (and, therefore, of It

 Works! itself) “depends on the integrity of the men and women who market [It Works!’]

 products and services.” See Exhibit 1, Policies and Procedures § 1.2.

                     The Distributor Defendants’ Non-Compete Obligations

         33.    The Agreement is not an exclusive arrangement. It Works! distributors are free to

 participate in other non-competing multilevel or network marketing business ventures or




 14520441v1                                        7
Case 8:20-cv-01743-KKM-TGW                    Document 1          Filed 07/28/20         Page 8 of 33 PageID 8




 marketing opportunities (collectively “network marketing”). See Exhibit 1, Policies and

 Procedures § 3.9.1.

          34.      However, in the Agreement all It Works! distributors agree—and the Distributor

 Defendants agreed—that as It Works! distributors they “must not sell, or attempt to sell, any

 competing non-It Works! programs, products or services.” See Exhibit 1, Policies and

 Procedures § 3.9.2.1

                      The Distributor Defendants’ Non-Solicitation Obligations

          35.      Although they were free to participate in other non-competing network marketing

 businesses or opportunities, in their Agreements the Distributor Defendants agreed, among other

 things, not to solicit It Works! distributors or customers for other network marketing businesses

 during the term of their Agreements and for six months thereafter. See Exhibit 1, Policies and

 Procedures § 3.9.1.

          36.      Specifically as to non-solicitation, It Works! distributors may not directly or

 indirectly recruit other It Works! distributors or customers for any other network marketing

 business while they are It Works! distributors and for a period of six (6) calendar months

 thereafter. See Exhibit 1, Policies and Procedures § 3.9.1.2

          37.      The Agreement defines “recruit” to include “the actual or attempted sponsorship,

 solicitation, enrollment, encouragement, or effort to influence in any other way, either directly,

 indirectly, or through a third party, another It Works! Distributor or Loyal Customer to enroll or

 participate in another multilevel marketing, network marketing or direct sales opportunity”



 1
   The Agreement defines a competing program as “[a]ny program, product or service that is offered through network
 marketing or multi-level marketing in the same generic categories as It Works! products or services . . ., regardless
 of differences in cost, quality, or other distinguishing factors.” Policies and Procedures § 3.9.2.
 2
   The post-term non-solicitation provision in the Agreement includes a limited exception whereby a former It
 Works! distributor may recruit for another network marketing business only those It Works! distributors personally
 sponsored (enrolled as distributors) by the former It Works! distributor.

 14520441v1                                               8
Case 8:20-cv-01743-KKM-TGW                  Document 1     Filed 07/28/20     Page 9 of 33 PageID 9




 including in response to inquiry made by another It Works! distributor or by announcement on

 social media. See Exhibit 1, Policies and Procedures § 3.9.1.

              The Distributor Defendants’ Access to It Works!’ Confidential Information
                                and Their Non-Disclosure Obligations

         38.       As It Works! distributors, the Distributor Defendants had access to and utilized It

 Works!’ confidential information, including but not limited to Downline Activity Reports—

 information regarding the sales activity, revenue, and income generated by each of the It Works!

 distributors who were personally sponsored (enrolled as It Works! distributors) by the Distributor

 Defendants as well as the sales activity, revenue and income generated by other distributors who

 were part of their downline organization, including those It Works! distributors’ downline

 activity—as well as to It Works!’ eSuite of proprietary financial and operational information.

 The Downline Activity Reports and eSuite are and contain confidential, proprietary, and trade

 secret information (“Confidential Information”) owned by It Works!, including information

 concerning:

         (a)       proposed products and services;

         (b)       financial affairs;

         (c)       actual and potential customers and customer information;

         (d)       downline distributors;

         (e)       organizational matters;

         (f)       business and marketing strategies;

         (g)       business operations, methodologies, and practices;

         (h)       sourcing terms and companies utilized; and

         (i)       hardware, operating systems, and infrastructure.




 14520441v1                                          9
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20      Page 10 of 33 PageID 10




          39.     It Works!’ Confidential Information affords it a competitive advantage over other

  direct sales companies, and the continued confidentiality of such Confidential Information is

  essential to It Works!’ viability.

          40.     The Confidential Information derives economic value from not being generally

  known to and not being readily ascertainable by proper means by other persons who can obtain

  economic value from its disclosure and use.

          41.     Furthermore, the Confidential Information is the subject of efforts by It Works!

  that are reasonable under the circumstances to maintain its secrecy, including but not limited to,

  restricting access to such information and requiring It Works! distributors, such as the Distributor

  Defendants, to agree to confidentiality provisions within the Agreement.

          42.     In particular, the Distributor Defendants agreed that ‘[a]ll Downline Activity

  Reports and the information contained therein are confidential and constitute proprietary

  information and business trade secrets belonging to It Works!” and that “but for [their]

  agreement of confidentiality and nondisclosure, It Works! would not provide Downline Activity

  Reports to the [Distributor Defendants].” See Exhibit 1, Policies and Procedures § 3.9.4.

          43.     Each Distributor Defendant also agreed that he or she:

          [S]hall not, on his or her own behalf, or on behalf of any other person or entity:

          a)      Directly or indirectly use or disclose any information contained in any Downline
                  Activity Report or in eSuite to any third party;

          b)      Directly or indirectly disclose the password or other access code to his or her
                  eSuite;

          c)      Use the information contained in any Downline Activity Report or eSuite to
                  compete with It Works! or for any purpose other than managing or supporting his
                  or her It Works! business; or




  14520441v1                                       10
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20     Page 11 of 33 PageID 11




          d)     Recruit or solicit any Distributor or Customer listed on any Downline Activity
                 Report or in eSuite, or in any manner attempt to influence or induce any
                 Distributor or Customer to alter their business relationship with It Works!.

  See Exhibit 1, Policies and Procedures § 3.9.4.

          44.     The Distributor Defendants further agreed that upon It Works!’ demand (to any

  current or former It Works! distributor), they would return the original and all copies of

  Downline Activity Reports or other information to It Works!. As such, the confidentiality

  provision survives the expiration or termination of the Agreement. See Exhibit 1, Policies and

  Procedures § 3.9.4.

          45.     It Works! provided the Distributor Defendants access to the Confidential

  Information because they executed the Agreement which prohibits the disclosure of Confidential

  Information and the Distributor Defendants’ competition with It Works! and solicitation of its

  distributors and customers. It Works! would not have disclosed this information to the

  Distributor Defendants without these protections.

                It Works! Learns of the Distributor Defendants and Melaleuca’s
                     Unlawful Scheme To Recruit It Works! Distributors

          46.    In or around July, 2020, It Works! learned that Melaleuca and the Distributor

  Defendants were acting in active concert and participation to perpetrate a brazen and unlawful

  scheme specifically designed to target current It Works! distributors and encourage them to

  break their Agreements with It Works! and become distributors for Melaleuca.

          47.     In some cases, the Distributor Defendants peddled misleading claims about their

  success with Melaleuca while encouraging It Works! distributors to not only break their own

  Agreements, but also to solicit other current It Works! distributors to move to Melaleuca and

  shirk their contractual obligations to It Works! as well.




  14520441v1                                        11
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20      Page 12 of 33 PageID 12




          48.    Among other unfair, deceptive, and unlawful tactics, It Works! is informed and

  believes that at the direction of Melaleuca, the Distributor Defendants approached current It

  Works! distributors and falsely asserted that It Works! was “going out of business” in as little as

  three months. In one instance, Distributor Defendant Geneveve Sykes presented a recruiting

  video conference that took place on July 27, 2020 and stated: “I don’t see It Works! lasting a

  couple more months from what I know.” During the July 27, 2020 recruiting video conference,

  Distributor Defendant Geneveve Sykes also alleged that she still had friends with It Works!

  “corporate” who told her to “run.”

          49.    The Distributor Defendants made such statements to It Works! distributors in the

  context of trying to solicit the It Works! distributors to join Melaleuca. The patently false

  statements concerning the health of It Works!’ business were made not only to paint It Works! in

  a bad light but also to create a false sense of urgency for It Works! distributors to break their

  Agreements with It Works! and make the jump to Melaleuca.

          50.      In addition to outright lies regarding the status of It Works!’ business, the

  Distributor Defendants also engaged in other deceitful solicitation tactics, such as providing It

  Works! distributors with copies of fake checks purportedly representing substantial amounts of

  monthly compensation received from Melaleuca.

          51.     In one example, Defendant Amber Hoerner sent a text message to a current It

  Works! distributor named Karen that included an image of two fake checks supposedly received

  from Melaleuca in March 2020 in the amounts of $43,576.26 and $35,437.75. See Exhibit 2,

  Text Message from Hoerner.

          52.    Upon information and belief, fake checks were produced by Melaleuca and placed

  in the Distributor Defendants’ back offices purporting to be signed by the Melaleuca owner.



  14520441v1                                       12
Case 8:20-cv-01743-KKM-TGW            Document 1        Filed 07/28/20     Page 13 of 33 PageID 13




  These checks that were sent by Defendant Hoerner and other Distributor Defendants do not

  actually represent monthly amounts received by a Melaleuca distributor. Rather, if the amounts

  were received at all, the amounts represent compensation received by a Melaleuca distributor for

  multiple months or even the entire year. Melaleuca’s actions in dating the fake checks for a

  specific month were employed as a devious artifice intended to convey an inflated sense of the

  compensation that a Melaleuca distributor received or that an It Works! distributor being

  solicited could expect to receive from Melaleuca.

          53.    As to Defendant Hoerner, the images of the fake checks were also accompanied

  by a message from her insinuating that the It Works! distributor who received the message,

  Karen, was underpaid by It Works!. The message asked Karen if she “ever found the success

  [Karen] had worked for for all those years.” See id. Defendant Hoerner also referenced another

  It Works! distributor named Jennifer and suggested that Jennifer was underpaid as well earning

  as much as $900 during an unspecified period. According to Defendant Hoerner, she left It

  Works! out of concern for her “team” struggling.

          54.    The images of the fake checks, the amounts of the checks juxtaposed with

  references to supposedly lesser amounts made by It Works! distributors, the use of specific It

  Works! distributor names, and posing of a loaded, rhetorical question as to whether Karen “ever

  found success” after working hard for “all those years” are all part of an intentionally concocted

  negative messaging campaign designed to invoke harmful and otherwise damaging sentiments

  with current It Works! distributors and to dupe them into believing they are somehow being

  underpaid and / or mistreated.

          55.     Moreover, Defendant Hoerner’s reference to her alleged concerns for her team’s

  struggles at It Works! are further intended to not-so-subtly encourage the target of the misleading



  14520441v1                                      13
Case 8:20-cv-01743-KKM-TGW             Document 1       Filed 07/28/20      Page 14 of 33 PageID 14




  and negative messaging, in this case Karen, to consider not only leaving It Works! herself but to

  encourage other distributors on her team to do so as well.

          56.      On its face, the type of messaging conveyed by Defendant Hoerner and others is

  misleading and unfair to all involved. Unfortunately for the Distributor Defendants and

  Melaleuca, the United States Federal Trade Commission (“FTC”) agrees, and Melaleuca has as

  recently as last month found itself in the FTC’s cross hairs for making misleading claims

  concerning the income purportedly earned by its distributors. See Exhibit 3, June 5, 2020 Letter

  from Federal Trade Commission to Melaleuca.

          57.     The FTC has long grappled with bad actors such as Melaleuca in the multi-level

  marketing industry and has deemed recruiting tactics such as those used by Melaleuca

  distributors to be misleading. In particular, the FTC’s website sets out “some guiding principles”

  that include:

          a.      Some business opportunities may present themselves as a way for participants to
                  get rich or lead a wealthy lifestyle. They may make such representations through
                  words or through images . . . . If participants generally do not achieve such
                  results, these representations likely would be false or misleading to current
                  or prospective participants.

          b.      Business opportunities may also claim that participants, while not necessarily
                  becoming wealthy, can achieve career-level income. They may represent through
                  words or images that participants can earn thousands of dollars a month, quit their
                  jobs, “fire their bosses,” or become stay-at-home parents. If participants generally
                  do not achieve such results, these representations likely would be false or
                  misleading to current or prospective participants.

          c.      Even truthful testimonials from the very small minority of participants who
                  do earn career-level income or more will likely be misleading unless the
                  advertising or presentation also makes clear the amount earned or lost by
                  most participants.

  See Federal Trade Commission, Business Guidance Concerning Multi-Level Marketing (January
  2018) (emphasis added), available at https://www.ftc.gov/tips-advice/business-
  center/guidance/business-guidance-concerning-multi-level-marketing.



  14520441v1                                       14
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20      Page 15 of 33 PageID 15




          58.    Notably, Defendant Hoerner’s unabashed representations about her income do not

  include any qualifying statements whatsoever about what a typical distributor for Melaleuca

  could expect to earn, and as a result, such statements are clearly misleading.

          59.     In fact, Melaleuca itself has published statistics showing that its typical

  distributor earns far less than what Defendant Hoerner purported to earn. See Exhibit 4,

  Melaleuca, Melaleuca Leadership in Action, at Pg. 52 (Ed. July 2020). Melaleuca instructs its

  distributors—referred to by Melaleuca as “Marketing Executives”—not to make income claims,

  stating: “Most people with a Melaleuca business use their Melaleuca business to supplement

  their income. Even for those who put serious time and effort into building a Melaleuca business,

  it normally takes years to build the business to the point that anyone should ever consider leaving

  their full-time job to live only on their Melaleuca income.” See Exhibit 5, Melaleuca, Building

  Your Business Online: Guidelines for Using the Internet, Social Media, and Electronic

  Communications at Pg. 7 (hereinafter “Melaleuca Online Guidelines”).

          60.    The Defendant Distributors, as top Melaleuca Marketing Executives, should know

  and understand their own Policies and Procedures, yet all violated the Melaleuca Policies and

  Procedures multiple times. Section 32 of the Melaleuca Policies and Procedures provides:

          32. Income Claims
          Marketing Executives are prohibited from making false, misleading or inaccurate
          claims about their or other persons’ compensation received under the
          Compensation Plan. If, when presenting the Melaleuca business opportunity, a
          Marketing Executive makes any claim regarding his/her compensation from
          Melaleuca, or the potential compensation payable under Melaleuca’s
          Compensation Plan, the Marketing Executive must also show the person(s)
          receiving the presentation Melaleuca’s most current published Marketing
          Executives Annual Income Statistics sheet.

          61.    Clearly Melaleuca understands the importance of abiding by its policies and

  procedures. As Melaleuca clearly stated recently in an article addressing a warning letter



  14520441v1                                       15
Case 8:20-cv-01743-KKM-TGW            Document 1        Filed 07/28/20      Page 16 of 33 PageID 16




  received by Melaleuca from the Federal Trade Commission based upon false income claims

  made by a distributor it terminated: “[C]ontrary to Melaleuca’s policies, you are promoting a

  business opportunity primarily based on finding people interested in earning money rather than

  on attracting real customers with genuine interest in Melaleuca’s products.” See Exhibit 6, Idaho

  Statesman, FTC Warns Firm Owned by Idaho’s Richest Man About Marketing Claims (June 9,

  2020), available at https://www.idahostatesman.com/news/business/article243369041.html

          62.    The company informed the FTC of the action it took, stating: “It’s not unusual,

  [Melaleuca owner Frank] VanderSloot said, for the company to terminate representatives who

  violate company polices. “That’s one thing we can’t afford to mess around with,” VanderSloot

  said. “We have these policies in place, and if we don’t enforce them, they aren’t worth

  anything.” The FTC warning letter distributor was terminated for promoting that new Melaleuca

  representatives “are likely to earn substantial income.” See Exhibit 6.

          63.    This termination-worthy representation pales in comparison to handing out checks

  that falsely represent hundreds of thousands of dollars earned per month. Yet none of the

  Distributor Defendants have been terminated for violating Melaleuca Policies and Procedures.

  Melaleuca Policy and Procedure Section 40(c) states:

                 Online training and information content may not:

                 (i) be used for the purpose of soliciting new customers or Marketing Executives,
                 except when used for a live presentation of the Melaleuca Overview slides;

          64.    Either Melaleuca has incorporated fabrications about It Works! into its Overview

  slides or the Distributor Defendants have violated this Melaleuca provision on numerous

  occasions. For example, Defendant Rankin has made her prerecorded presentation available

  online, while also conducting new recruitment meetings almost every night.




  14520441v1                                      16
Case 8:20-cv-01743-KKM-TGW            Document 1        Filed 07/28/20      Page 17 of 33 PageID 17




          65.    In addition, Melaleuca’s publication Building Your Business Online: Guidelines

  for Using the Internet, which is incorporated by reference into the Melaleuca Policies and

  Procedures, provides: “Do not: Make any public mention or post copies of checks from

  Melaleuca.” See Exhibit 5, Melaleuca Online Guidelines at Pg. 6.

          66.    It Works! has suffered direct financial losses due to the actions of the Distributor

  Defendants and Melaleuca. Currently a minimum of 250 It Works! distributors have left It

  Works! and joined Melaleuca.

          67.    The two most recent Distributor Defendants who terminated their agreement with

  It Works!, Lea Piccoli and Sarah Rankin, illustrate why it is necessary to protect It Works!

  through injunctive relief. For the month of June 2020, Piccoli had approximately $380,000 in

  sales with It Works! and Rankin had about $1.4 million in sales with It Works. Further in June,

  Piccoli had a total of 22,834 active and inactive distributors and customers in her downline

  organization, while Rankin had a total of 136,220 active and inactive distributors and customers

  in her organization.

          68.    Other Distributor Defendants have also relied on similar misleading tactics with

  Melaleuca having knowledge of and being the driving force behind them.

          69.    As another example, Defendants Ashley Olive and Brandon Olive have also

  solicited It Works! distributors by disclosing a fake check that supposedly shows income from

  Melaleuca in the amount of $301,703.81 for April 2020. See Exhibit 7, May 12, 2020 Check to

  Ashley and Brandon Olive. Whether or not they actually received the stated amount from

  Melaleuca, the clear purpose behind relying on the fake check in soliciting It Works! distributors

  is to imply that It Works! distributors would achieve comparable income levels by doing nothing

  more than breaking their Agreements with It Works! and joining Melaleuca.



  14520441v1                                      17
Case 8:20-cv-01743-KKM-TGW            Document 1        Filed 07/28/20      Page 18 of 33 PageID 18




          70.    Significantly, this is Ashley Olive’s second bite at the apple, and she is well aware

  of the wrongful nature of her conduct.

          71.    On or about September 25, 2018, It Works! sent Defendant Ashley Olive a cease

  and desist letter, with notice to the Melaleuca legal department, regarding nearly identical

  misconduct by Olive attempting to lure It Works! distributors into terminating their contract in

  order to join Melaleuca. See Exhibit 8, September 25, 2018 Letter to Ashley Olive.

          72.    At the time of the September 25, 2018 letter, Ashley Olive was within the six-

  month non-solicitation period set forth in the Agreement she signed with It Works! See Exhibit

  1, Policies and Procedures § 3.9.1. Upon information and belief, Defendant Ashley Olive’s

  most recent antics viewed in light of her prior wrongful conduct as outlined in the September 25,

  2018 letter shows that her violation of her contractual obligations with It Works! has been

  systemic, ongoing, and continuous in nature.

          73.    In a transparent attempt to burnish the credibility their deceptive and delusive

  claims to It Works! distributors, Defendants Ashley and Brandon Olive have at times published

  to It Works! distributors what purports to be an official-looking April 2020 Business Report

  Summary showing more than seven figures in income received from Melaleuca. See Exhibit 9,

  April 2020 Business Report Summary from Ashley and Brandon Olive.

          74.    It is no coincidence that Distributor Defendants Makenzie Schultz, Steven Shultz,

  Kellie Kaufman, Geneveve Sykes (through the name Get Fit With Gen, Inc.), and Jeanie

  McWhorter have all relied on similar tactics in publishing by text message or social media fake

  checks or excerpts from “Business Summaries” showing substantial amounts allegedly received

  from Melaleuca. See Exhibit 10, May 12, 2020 Check to Makenzie & Steven Shultz in the

  amount of $118,502.11; Exhibit 11, Kellie Kaufman Message and Commission and Bonus



  14520441v1                                      18
Case 8:20-cv-01743-KKM-TGW             Document 1       Filed 07/28/20      Page 19 of 33 PageID 19




  Summary; Exhibit 12, Jeanie McWhorter Message and Commission and Bonus Summary;

  Exhibit 13, Geneveve Sykes April 2020 Business Report Summary; Exhibit 14, May 12, 2020

  Check to Kimberly Bertolucci & April 2020 Bertolucci Business Report Summary.

          75.    Melaleuca encourages its distributors to solicit and/or poach distributors from

  competing companies through the use of deceptive claims regarding the income that potential

  distributors could reasonably expect to receive. Melaleuca and its distributors, including the

  Distributor Defendants, promote the use of such tactics through hosting events such as online

  “Check Opening Zooms” where distributors are encouraged to publicly disseminate deceptive

  information misrepresenting the circumstances of the compensation they receive. See Exhibit 15.

                                               COUNT I

                          [Breach of the Agreements – Injunctive Relief]

          76.    It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.

          77.    This is an action for injunctive relief against the Distributor Defendants and

  Melaleuca.

          78.    The Agreements are valid and binding contracts.

          79.    The Distributor Defendants have breached their Agreements by selling, or

  attempting to sell, Melaleuca’s competing network marketing programs, products and services.

          80.    The Distributor Defendants have also breached their Agreements by soliciting It

  Works! distributors and customers for Melaleuca’s competing network marketing programs,

  products and services, and have done so during the term of their Agreements and thereafter.

          81.    The Distributor Defendants and Melaleuca’s solicitation of It Works! distributors

  and customers for Melaleuca’s competing network marketing programs, products and services

  includes illegal recruiting of It Works! distributors, procuring It Works! distributors’ resignations



  14520441v1                                       19
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20     Page 20 of 33 PageID 20




  from It Works!, and having those former It Works! distributors join Melaleuca’s competing

  network marketing business to sell its programs, products and services.

          82.    The Distributor Defendants and Melaleuca’s solicitation of It Works! distributors

  and customers includes requesting, inducing and / or advising persons to withdraw, curtail, or

  cancel their existing and prospective business and business relationships with It Works!.

          83.    The Distributor Defendants have further breached their Agreements by making

  inevitable and unauthorized use, disclosures and transfers of It Works!’ Confidential

  Information, including Downline Activity Reports and eSuite information:

          (a)    to third parties including Melaleuca;

          (b)    to compete with It Works! for purposes other than managing or supporting the

                 Distributor Defendants’ It Works! business;

          (c)    to recruit and solicit It Works! distributors and customers—including those listed

                 on Downline Activity Reports or in eSuite; and

          (d)    to influence or induce, or attempt to influence or induce, It Works! distributors

                 and customers to alter (indeed, to terminate) their business relationships with It

                 Works!.

          84.    The non-competition provisions of the Agreement are supported by adequate

  consideration and It Works!’ legitimate business interests of its: (1) trade secrets, including the

  Confidential Information; (2) valuable confidential business information, including the

  Confidential Information; (3) substantial relationships with existing and prospective It Works!

  distributors and customers; (4) substantial goodwill associated with its name and service marks;

  (6) substantial goodwill in the United States and international markets; and (7) extraordinary and

  specialized training provided to the Distributor Defendants.



  14520441v1                                       20
Case 8:20-cv-01743-KKM-TGW             Document 1       Filed 07/28/20      Page 21 of 33 PageID 21




          85.    There is a real and immediate threat going forward that the Distributor Defendants

  will:

          (a)    sell, or attempt to sell, Melaleuca’s competing network marketing programs,

                 products and services;

          (b)    solicit It Works! distributors and customers for Melaleuca’s competing network

                 marketing programs, products and services; and

          (c)    make inevitable and unauthorized use, disclosures and transfers of It Works!’

                 Confidential Information, including Downline Activity Reports and eSuite

                 information;

  all in violation of the restrictive covenants and confidentiality provisions of the Agreement.

          86.    Melaleuca, by virtue of its relationship with the Distributor Defendants, has

  knowledge of the restrictive covenants and confidentiality provisions applicable to the

  Distributor Defendants in the Agreement.

          87.    The Distributor Defendants and Melaleuca’s breaches of the restrictive covenants

  and confidentiality provisions of the Agreement have resulted and will continue to result in

  irreparable and continuing harm to It Works!, its business, distributor and customer relationships,

  goodwill, and other proprietary interests, for which It Works! has no adequate remedy at law.

          88.    The Distributor Defendants and Melaleuca’s breaches of the restrictive covenants

  and confidentiality provisions of the Agreement also have resulted and will continue to result in

  other significant, long-term damage to It Works! and will provide a significant unfair and

  unlawful advantage to the Distributor Defendants and Melaleuca.




  14520441v1                                      21
Case 8:20-cv-01743-KKM-TGW              Document 1       Filed 07/28/20       Page 22 of 33 PageID 22




           89.    Unless the Distributor Defendants and Melaleuca are enjoined by this Court from

  engaging in the wrongful conduct described herein, It Works! will suffer irreparable harm for

  which it lacks an adequate remedy at law.

           90.    It Works! has been and is likely to continue to be substantially and irreparably

  injured in its business, customer relationships, goodwill, and other proprietary interests, and the

  threat of continued injury to its business, customer relationships, goodwill, and other proprietary

  interests outweighs any harm the issuance of an injunction may inflict upon the Distributor

  Defendants or Melaleuca.

           91.    In light of the foregoing, the provisions of the Agreement which It Works! seeks

  to enforce are reasonably necessary to protect the above-described legitimate business interests

  justifying the restrictions.

           92.    It Works! has a substantial likelihood of success on the merits of its claims.

           93.    The Court’s entry of the requested injunction will serve the public interest by

  honoring the Agreements freely negotiated by the parties and protecting the legitimate business

  interests of It Works! which the Agreements were intended to protect in the first instance.

           94.    It Works! has engaged the law firm Shumaker, Loop & Kendrick, LLP and is

  obligated to pay reasonable attorneys’ fees and costs for its services in this matter.

           WHEREFORE, Plaintiff, It Works! Marketing, Inc., demands judgment against

  Defendants, Melaleuca Inc., Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold,

  Amber Hoerner, Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli,

  Sarah Rankin, Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes, and Sean

  Sykes:

           (a)    preliminarily and permanently enjoining the Defendants, their officers, agents,
                  servants, employees, and attorneys, and all persons or entities in active concert or


  14520441v1                                        22
Case 8:20-cv-01743-KKM-TGW            Document 1        Filed 07/28/20      Page 23 of 33 PageID 23




                 participation with them who receive actual notice of the injunction by personal
                 service or otherwise, from:

                 (i)     selling, or attempting to sell, Melaleuca’s competing network marketing
                         programs, products and services;

                 (ii)    soliciting It Works! distributors and customers for Melaleuca’s competing
                         network marketing programs, products and services; and

                 (iii)   make inevitable and unauthorized use, disclosures and transfers of It
                         Works!’ Confidential Information, including Downline Activity Reports
                         and eSuite information;

          (b)    ordering the Defendants to return all Confidential Information to It Works!; and

          (c)    awarding attorneys’ fees, costs, and all other relief to which It Works! is entitled
                 at law or in equity.

                                              COUNT II

                              [Breach of the Agreements – Damages]

          95.    It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.

          96.    This is an action for damages against the Distributor Defendants for breach of the

  Agreements.

          97.    The Agreements are valid and binding contracts.

          98.    The Distributor Defendants breached their Agreements by selling, or attempting

  to sell, Melaleuca’s competing network marketing programs, products and services.

          99.    The Distributor Defendants also breached their Agreements by soliciting It

  Works! distributors and customers for Melaleuca’s competing network marketing programs,

  products and services, and have done so during the term of their Agreements and thereafter.

          100.   The Distributor Defendants further breached their Agreements by making

  inevitable and unauthorized use, disclosures and transfers of It Works!’ Confidential

  Information, including Downline Activity Reports and eSuite information:



  14520441v1                                      23
Case 8:20-cv-01743-KKM-TGW              Document 1        Filed 07/28/20     Page 24 of 33 PageID 24




          (a)    to third parties including Melaleuca;

          (b)    to compete with It Works! for purposes other than managing or supporting the

                 Distributor Defendants’ It Works! business;

          (c)    to recruit and solicit It Works! distributors and customers—including those listed

                 on Downline Activity Reports or in eSuite; and

          (d)    to influence or induce, or attempt to influence or induce, It Works! distributors

                 and customers to alter (indeed, to terminate) their business relationships with It

                 Works!.

          101.   The Distributor Defendants have breached the Agreements including, without

  limitation, Sections 3.9.1, 3.9.2 and 3.9.4 of the It Works! Policies and Procedures in the

  Agreements.

          102.   As a direct and proximate result of these breaches of the Agreements, It Works!

  has suffered damages.

          103.   It Works! has engaged the law firm Shumaker, Loop & Kendrick, LLP and is

  obligated to pay reasonable attorneys’ fees and costs for its services in this matter

          WHEREFORE, Plaintiff, It Works Marketing, Inc., demands judgment against

  Defendants, Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold, Amber Hoerner,

  Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli, Sarah Rankin,

  Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes, and Sean Sykes, for

  damages in an amount to be proved at trial, together with interest, costs, attorneys’ fees, and all

  other relief to which It Works! is entitled at law or in equity.




  14520441v1                                        24
Case 8:20-cv-01743-KKM-TGW            Document 1        Filed 07/28/20      Page 25 of 33 PageID 25




                                             COUNT III

          [Breach of the Implied Contractual Covenant of Good Faith and Fair Dealing]

          104.   It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.

          105.   The Distributor Defendants breached the implied covenant of good faith and fair

  dealing that Florida law recognizes in every contract, including the Agreements by selling, or

  attempting to sell, Melaleuca’s competing network marketing programs, products and services.

          106.   The Distributor Defendants also breached the implied covenant of good faith and

  fair dealing by soliciting It Works! distributors and customers for Melaleuca’s competing

  network marketing programs, products and services, and have done so during the term of their

  Agreements and thereafter.

          107.   The Distributor Defendants further breached the implied covenant of good faith

  and fair dealing by making inevitable and unauthorized use, disclosures and transfers of It

  Works! Confidential Information.

          108.   The Distributor Defendants’ breaches of the Agreement were conscious and

  deliberate and resulted in a frustration of the purpose of the Agreement in contravention of the

  parties’ reasonable commercial expectations that the Distributor Defendants would not misuse or

  make unauthorized use or disclosure of the It Works! Confidential Information in an effort to

  compete with It Works!

          109.   As a direct and proximate result of the Distributor Defendants’ breach of the

  implied contractual covenant of good faith and fair dealing, It Works! has suffered damages.

          WHEREFORE, Plaintiff, It Works Marketing, Inc., demands judgment against

  Defendants, Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold, Amber Hoerner,

  Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli, Sarah Rankin,



  14520441v1                                      25
Case 8:20-cv-01743-KKM-TGW             Document 1          Filed 07/28/20    Page 26 of 33 PageID 26




  Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes, and Sean Sykes, for

  damages in an amount to be proved at trial, together with interest, costs, and all other relief to

  which It Works! is entitled at law or in equity.

                                              COUNT IV

                        [Tortious Interference with Business Relationships]

          110.   It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.

          111.   This is an action for damages against the Distributor Defendants and Melaleuca

  for tortious interference with business relationships.

          112.   It Works! has legal rights in identifiable, advantageous business relationships with

  its distributors and customers.

          113.    The Defendants had knowledge of It Works!’ existing business relationships with

  distributors and customers by virtue of the contractual relationships established through entry of

  the Agreements and by a substantial history of prior orders by such It Works! distributors and

  customers.

          114.    The Defendants intentionally and unjustifiably interfered with It Works!’ existing

  business relationships with its distributors and customers.

          115.   As a result of the Defendants’ intentional and wrongful conduct, It Works!

  distributors have terminated their distributor relationships with It Works!.

          116.   As a result of the Defendants’ intentional and wrongful conduct, It Works!

  customers have terminated their business with It Works!.

          117.   It Works! has been damaged as a result of the Defendants’ intentional and

  unjustified interference with It Works!’ business relationships with its distributors and

  customers.



  14520441v1                                         26
Case 8:20-cv-01743-KKM-TGW               Document 1        Filed 07/28/20        Page 27 of 33 PageID 27




          WHEREFORE, Plaintiff, It Works Marketing, Inc., demands judgment against

  Defendants, Melaleuca Inc., Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold,

  Amber Hoerner, Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli,

  Sarah Rankin, Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes, and Sean

  Sykes jointly and severally, for damages in an amount to be proved at trial, including punitive

  damages, interest, costs, and all other relief to which It Works! is entitled at law or in equity.

                                                 COUNT V

                    [False Advertising Under the Lanham Act, 15 U.S.C. § 1125]

          118.    It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.

          119.    This is an action for damages against the Distributor Defendants and Melaleuca

  for false advertising under the Lanham Act, 15 U.S.C. § 1125.

          120.    The Distributor Defendants and Melaleuca have made false statements of fact in

  commercial advertisements about allegedly superior commercial opportunities available to

  Melaleuca distributors over It Works! distributors, including false and misleading statements

  concerning the income that It Works! distributors and other persons could expect to receive after

  joining Melaleuca (“income claims”).

          121.     Those statements by Defendants are false on their face or by necessary

  implication, inaccurate, and/or the statements are likely to mislead or confuse a substantial

  portion of their intended audience.

          122.    Defendants’ unsubstantiated income claims actually deceived or have the

  potential to deceive a substantial segment of the intended audience, to induce It Works!

  distributors to breach their Agreements and enroll with Melaleuca, and to mislead the audience




  14520441v1                                         27
Case 8:20-cv-01743-KKM-TGW               Document 1        Filed 07/28/20        Page 28 of 33 PageID 28




  into believing that they can and will in fact earn tens of thousands or more per month working as

  distributors for Melaleuca, which representations are utterly false.

          123.    The Defendants’ unsubstantiated income claims are material and are likely to

  influence the willingness of the audience to become Melaleuca distributors by purchasing that

  business opportunity.

          124.     The Defendants caused their false statements to enter interstate commerce by

  publishing those statements on the internet, through online electronic meeting platforms or

  through text messages, and/or other electronic communication means crossing state lines.

          125.    It Works! is or is likely to be injured as a result of the Defendants’ false income

  claims by direct diversion of distributors to and sales of competing products by Melaleuca.

          WHEREFORE, Plaintiff, It Works Marketing, Inc., demands judgment against

  Defendants, Melaleuca Inc., Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold,

  Amber Hoerner, Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli,

  Sarah Rankin, Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes and Sean

  Sykes, jointly and severally, for damages in an amount to be proved at trial, including punitive

  damages, interest, costs, and all other relief to which It Works! is entitled at law or in equity.

                                                COUNT VI

                        [Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.]

          126.    It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.

          127.    This is an action for damages against the Distributor Defendants and Melaleuca

  for misappropriation of trade secrets under the Defend Trade Secrets Act, 18 U.S.C. § 1836, et

  seq.




  14520441v1                                         28
Case 8:20-cv-01743-KKM-TGW               Document 1      Filed 07/28/20     Page 29 of 33 PageID 29




          128.   It Works! possessed trade secret information, including the Confidential

  Information, and took reasonable steps to protect its secrecy, including, but not limited to,

  restricting access to such information and requiring It Works! distributors, such as the Distributor

  Defendants, to sign confidentiality agreements.

          129.   The Confidential Information derives independent economic value, actual and

  potential, from not being generally known to, and not being readily ascertainable by proper

  means, by other persons who can obtain economic value from its disclosure.

          130.   The Distributor Defendants obtained the Confidential Information under

  circumstances giving rise to a duty to maintain the secrecy of the Confidential Information or

  limit its use, including through contractual and other business relationships.

          131.   Melaleuca has reason to know that such Confidential Information was obtained

  under a duty to maintain its secrecy. Melaleuca wrongfully acquired the Confidential

  Information at least by soliciting the information from It Works distributors who had or have a

  duty of loyalty to It Works and an obligation, contractual and otherwise, to maintain the

  confidentiality of such information.

          132.   The Distributor Defendants and Melaleuca made unauthorized disclosure and use

  of the Confidential Information by selling, or attempting to sell, Melaleuca’s competing network

  marketing programs, products and services.

          133.   The misuse and authorized disclosure of It Works Confidential Information is

  ongoing, and by soliciting It Works! distributors and customers for Melaleuca’s competing

  network marketing programs, products and services, the Distributor Defendants and Melaleuca

  have and will continue to misappropriate It Works!’ trade secret information by, among other

  things, making inevitable and unauthorized use, disclosures and transfers of It Works!’



  14520441v1                                        29
Case 8:20-cv-01743-KKM-TGW              Document 1        Filed 07/28/20     Page 30 of 33 PageID 30




  Confidential Information, including Downline Activity Reports and eSuite information,

  including to Melaleuca.

          134.   The Distributor Defendants and Melaleuca know or have reason to know that It

  Works!’ trade secret information was improperly obtained for the purposes of selling, or

  attempting to sell, Melaleuca’s competing network marketing programs, products and services,

  and soliciting It Works! distributors and customers for Melaleuca’s competing network

  marketing programs, products and services.

          135.   As a direct and proximate result of the Distributor Defendants and Melaleuca’s

  misappropriation of It Works!’ trade secret information, It Works! has suffered damages.

          136.   It Works! has engaged the law firm Shumaker, Loop & Kendrick, LLP and is

  obligated to pay reasonable attorneys’ fees and costs for its services in this matter.

          WHEREFORE, Plaintiff, It Works Marketing, Inc., demands judgment against

  Defendants, Melaleuca Inc., Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold,

  Amber Hoerner, Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli,

  Sarah Rankin, Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes and Sean

  Sykes, jointly and severally, for damages in an amount to be proved at trial, including unjust

  enrichment and exemplary damages, together with interest, costs, attorneys’ fees, and all other

  relief to which It Works! is entitled at law or in equity.

                                              COUNT VII

                 [Misappropriation of Trade Secrets - § 688.001, et seq., Fla. Stat.]

          137.   It Works! realleges paragraphs 1 through 75 as if fully set forth in this Count.




  14520441v1                                        30
Case 8:20-cv-01743-KKM-TGW                Document 1      Filed 07/28/20      Page 31 of 33 PageID 31




          138.       This is an action for damages against the Distributor Defendants and Melaleuca

  for misappropriation of trade secrets under the Florida Uniform Trade Secrets Act, § 688.001, et

  seq., Fla. Stat.

          139.       It Works! possessed trade secret information, including the Confidential

  Information, and took reasonable steps to protect its secrecy, including, but not limited to,

  restricting access to such information and requiring It Works! distributors, such as the Distributor

  Defendants, to sign confidentiality agreements.

          140.       The Confidential Information derives independent economic value, actual and

  potential, from not being generally known to, and not being readily ascertainable by proper

  means, by other persons who can obtain economic value from its disclosure.

          141.       The Distributor Defendants obtained the Confidential Information under

  circumstances giving rise to a duty to maintain the secrecy of the Confidential Information or

  limit its use, including through contractual and other business relationships.

          142.       Melaleuca has reason to know that such Confidential Information was obtained

  under a duty to maintain its secrecy. Melaleuca wrongfully acquired the Confidential

  Information at least by soliciting the information from It Works distributors who had or have a

  duty of loyalty to It Works and an obligation, contractual and otherwise, to maintain the

  confidentiality of such information.

          143.       The Distributor Defendants and Melaleuca made unauthorized disclosure and use

  of the Confidential Information by selling, or attempting to sell, Melaleuca’s competing network

  marketing programs, products and services.

          144.       The misuse and authorized disclosure of It Works Confidential Information is

  ongoing, and by soliciting It Works! distributors and customers for Melaleuca’s competing



  14520441v1                                         31
Case 8:20-cv-01743-KKM-TGW              Document 1        Filed 07/28/20     Page 32 of 33 PageID 32




  network marketing programs, products and services, the Distributor Defendants and Melaleuca

  have and will continue to misappropriate It Works!’ trade secret information by, among other

  things, making inevitable and unauthorized use, disclosures and transfers of It Works!’

  Confidential Information, including Downline Activity Reports and eSuite information,

  including to Melaleuca.

          145.   The Distributor Defendants and Melaleuca know or have reason to know that It

  Works!’ trade secret information was improperly obtained for the purposes of selling, or

  attempting to sell, Melaleuca’s competing network marketing programs, products and services,

  and soliciting It Works! distributors and customers for Melaleuca’s competing network

  marketing programs, products and services.

          146.   As a direct and proximate result of the Distributor Defendants and Melaleuca’s

  misappropriation of It Works!’ trade secret information, It Works! has suffered damages.

          147.   It Works! has engaged the law firm Shumaker, Loop & Kendrick, LLP and is

  obligated to pay reasonable attorneys’ fees and costs for its services in this matter.

          WHEREFORE, Plaintiff, It Works Marketing, Inc., demands judgment against

  Defendants, Melaleuca Inc., Kimberly Bertolucci a/k/a Kimberly McCauley, Katie Herold,

  Amber Hoerner, Kellie Kaufman, Jeanie McWhorter, Ashley Olive, Brandon Olive, Lea Piccoli,

  Sarah Rankin, Joshua Rankin, Makenzie Schultz, Steven Schultz, Geneveve Sykes and Sean

  Sykes, jointly and severally, for damages in an amount to be proved at trial, including unjust

  enrichment and exemplary damages, together with interest, costs, attorneys’ fees, and all other

  relief to which It Works! is entitled at law or in equity.




  14520441v1                                        32
Case 8:20-cv-01743-KKM-TGW             Document 1        Filed 07/28/20      Page 33 of 33 PageID 33




                                   DEMAND FOR JURY TRIAL

          Plaintiff, It Works Marketing, Inc., hereby demands a trial by jury of all issues so triable.

          Dated: July 28, 2020.                  /s/ Ernest J. Marquart
                                                 Ernest J. Marquart, Florida Bar No. 905860
                                                 Jeffrey B. Fabian, Florida Bar No. 85868
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  14520441v1                                       33
